Case 1:15-cv-04574-CBA-SJB Document 60 Filed 03/22/17 Page 1 of 3 PageID #: 418




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                                                                                    March 22, 2017

 VIA ELECTRONIC CASE FILING
 Hon. Vera M. Scanlon, U.S.M.J.
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


             Re: Hamilton v. City of New York et. al., 15-CV-4574 (CBA) (VMS)


 Your Honor:

          Pursuant to the Court’s directive of March 3, 2017, I respectfully submit this joint status
 letter in advance of the telephone conference scheduled for March 24, 2017. This letter has been
 circulated to all parties for comment prior to being filed.

        All party depositions have now been completed except for that of former New Haven
 Police Lt. Billy White. The parties attempted to schedule this deposition for late March 2017 but
 were unable to do so because defense counsel were unavailable in late March. Accordingly, with
 the Court’s permission, the parties will conduct Lt. White’s deposition in April.

         Pursuant to the orders issued after the December 6, 2016 conference (Doc. 56) and after
 the January 6, 2017 telephone conference (Doc. 57), the plaintiff has located and turned over
 responsive emails to defense counsel. The undersigned also subpoenaed the plaintiff’s call and
 text logs from T Mobile on January 9, 2017. On March 21, the undersigned spoke to Cynthia at
 the T Mobile legal compliance department (T Mobile does not give out its employees’ last
 names) and was told that there was a backlog but that production should be forthcoming in two
 to three business days. Subsequently, on March 22, I was informed by T Mobile that the bulk of
 the logs had been sent to my office via two-day UPS and that the records for January and
 February 2015 (which are considered “archived”) would be shipped to me upon payment of $50.
 I therefore expect to have the records in hand in the near future and, upon receiving them, will
 create a searchable PDF that can be reviewed for calls to the relevant telephone numbers.

                                                  1
Case 1:15-cv-04574-CBA-SJB Document 60 Filed 03/22/17 Page 2 of 3 PageID #: 419




        The plaintiff represents that he does not use Twitter or other social media beyond those
 discussed at the December 6 and January 6 conferences.

        The undersigned has provided last known contact information for non-party witnesses
 Sharon Goodwin and Kim Freeman as directed at the last conference.

          At the plaintiff’s deposition on March 20, 2017, defense counsel requested production of
 (a) the Stipulation of Settlement in his New York State Court of Claims litigation; and (b) his
 2016 Form 1099 from the Novo Law Firm. The plaintiff has produced the former and will
 produce the latter when obtained from the Novo Law Firm’s accountant. Counsel for defendants
 have also requested information concerning payments to Mr. Hamilton by the law firm of Wisell
 & McGee, which Mr. Hamilton testified employed him for a period after his release from prison.
 The plaintiff has agreed to provide defendants with a release for those records. Finally, plaintiff
 testified at his deposition that some of the compensation reflected in his 2015 Form 1099 from
 the Novo Law Firm constituted reimbursement for expenses he incurred in the course of his
 employment with that firm. Defendants have requested documentation of those expenses, and
 plaintiff has requested that documentation from the Novo Law Firm. The parties have agreed that
 the undersigned will review those documents upon receipt and that the plaintiff reserves the right
 to make appropriate objections, in particular with regards to those expenses which may
 implicate privileged information.

        The plaintiff has repeated his demand that the City of New Haven produce the personnel
 and disciplinary files of Lt. White in advance of his deposition. Plaintiff’s position is that the
 production of such records as to all individual defendants was previously ordered by the Court.
 To date, plaintiff has not received these records.

         At the recently-completed depositions of non-parties Mattie Dixon and Lee Marvin
 Benton, counsel for the City of New Haven inquired about a shooting incident that allegedly
 occurred in New Haven in May 1989 and questioned the witnesses about documents that
 apparently came from the court file. Upon information and belief, this case was closed without
 charges against Mr. Hamilton after the alleged victim ruled him out as the shooter. Accordingly,
 the plaintiff has called, by demand dated February 27, 2017, for production of the complete
 police and court file relating to this incident. Plaintiff will consent to designate these records as
 confidential under the existing protective order. Plaintiff has not received these records.

         The position of the New Haven defendants as to the disclosure set forth in the above two
 paragraphs is as follows: The New Haven defendants respectfully disagree that the entire
 personnel and disciplinary file of Lt. White have been ordered, or should be ordered, produced.
 First, there has been no admissible evidence adduced in this case to establish that White did
 anything culpable to anyone, insofar as any effect on plaintiff’s trial is concerned. Second, while
 Lt. White took a felony conviction for theft of government property, that event occurred in 1996-
 97—years after the trial and conviction of the plaintiff. Finally, while Monell discovery was
 expressly reserved by stipulated order pending a finding of liability on the part of an individual
 defendant, the court did order production of potential 404(b) evidence, which is what is sought
 from Scarcella and White. With regard to Mr. White, any such actual evidence is in the hands of

                                                  2
Case 1:15-cv-04574-CBA-SJB Document 60 Filed 03/22/17 Page 3 of 3 PageID #: 420



 the DOJ/FBI, and not the NHPD. No court in this Circuit of which the New Haven defendants
 are aware has ever ordered the blanket production of an entire personnel file of a police
 defendant, and defendants contend that this case presents no cause for doing so.

         As to the May 1989 shooting, the New Haven defendants represent that the three exhibits
 marked at the Mattie Dixon deposition constitute the complete set of records from the NHPD
 that the defendants’ counsel were provided, including all police reports. As the parties are
 aware, there was no criminal prosecution, and there are thus apparently no court records.

        The parties anticipate completing expert discovery within the June 30, 2017 deadline set
 by the Court in the scheduling order of January 6, 2017 (Doc. 57). However, in light of the
 progress of plaintiff’s expert consultation, plaintiff will request an additional two weeks (until
 April 14, 2017) to provide initial expert disclosures. It is not anticipated that plaintiff will
 request an extension of time to provide expert reports.

        The Court’s consideration in this matter is appreciated.

                                                                    Respectfully submitted,

                                                                    /s/

                                                                    Jonathan I. Edelstein



 cc:    All Counsel (Via ECF)




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